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MlNUTE EN"I`RY
DECEMBER l, 2017
KNOWLES, M.J.

UNI'I`ED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA CRIMINAL ACTION
VERSUS NO. 17-225
RONAL.D THOMPSON, JR. SECTlON: E

DETENTION HEARING
PRESENT; MDEFENDANT
ECOUNSEL FOR THE DEFENDANT JAMES S_ HOLT CVU-a¢'heo\)
4720 NORTH BLVD.. BATON ROUGE. LA
;/ASST_ U.S_ ATTORNEY JAMES BAEHR

_/INTERPRETER

 

(|nlcrprctcr designated by thc C`ourl and Swom. Timc M. 10 IVI.)

_/GOVERNMENT WITNESS(ES)

 

 

_/DEFENSE WHNESS(ES)

 

 

 

 

 

MJSTAR; 00: OL[

 

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RONALD THOMPSON, JR. 17-225 E
DEFENDANT CASE NO.

THE COURT ORDERS AFTER HEARING TESTIMONY PRESENTED IN THE ABOVE
CAP'I`IONED MATTER:

_/ DEFENDANT IS ENTITLED TO RELEASE. BOND SET AT

 

 

SPECIAL COND[TIONS: (l) HE SHALL NOT COMMIT A FEDERAL, STATE OR LOCAL CRIME
DURING THE PERIOD OF RELEASE; (2) HE SHALL NOT INTERFERE WITH, INTIMIDATE,
THREATEN, I-IARM, OR [NFLUENCE ANY JUROR, GOVERNMENT WITNESSES, VICTIMS OR
FEDERAL AGENTS.

 

 

 

_/' DEFENDANT EXECUTED THE BOND AND WAS RELEASED.

_/ DEFENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSI-IAL UNTIL BOND IS
PERFECTED.

&DEFENDANT IS NO'I` ENTITLED TO RELEASE.

l DEFENDAN'I` IS OR_DERED DETAINED AND REMANDED TO THE CUSTODY OF THE
U.S. MARSI-IAL.

§ WRITTEN FINDINGS AND STATEMENT OF REASONS ORDERING DETENTION FILED.
_/ lT lS STIPULATED THAT IF THE AGENT WERE CALLED TO TESTIFY, SAID
TESTIMONY WOULD BE CONSISTENT WITH THAT CONTA]NED IN THE
COMPLAIN'I`/AFFIDAVIT.

_/ IT IS S'l`II’UL/\TED THAT IF THE PRETRIAL SERVICES/PROBATION OFFICER WERE
CALLED TO TESTIFY, SAID TESTIMONY WOULD BE CONSISTENT WITH THAT
CON'I`AINED IN HIS/HER REPORT.

_jTHE DEFENDANT WAIVED/STIPULATED TO DETENT[ON RESERVING HIS/HER RIGHT
TO REOPEN

_/ OTHER:

 

 

§§4:

